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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                           *
DONNA LYNN MALONE                          *   Case No. 1:19-cv-02412-SAG
Individually and as Administrator of the   *
Estate of THOMAS ALAN GOSIER               *
257 Seneca Drive, Apt. 2W                  *
Syracuse, New York 13205                   *
                                           *
        and                                *
                                           *
To The Use Of: Daniel Gosier               *
      Address Unknown                      *
                                           *
                                           *   Jury Trial Demanded
              Plaintiffs,                  *
                                           *
vs.                                        *
                                           *
WICOMICO COUNTY MARYLAND                   *
    Serve: Bob Culver                      *
    Wicomico County Executive              *
    125 N. Division St. Room 303           *
    PO Box 870                             *
    Wicomico County                        *
                                           *
        and                                *
                                           *
CONMED, LLC, a division of                 *
                                           *
WELLPATH, LLC f/k/a CORRECT                *
CARE SOLUTIONS, LLC                        *
    Serve on:                              *
                                           *
    Corporate Creations Network, Inc.      *
    #700, 2 Wisconsin Circle               *
    Chevy Chase, Maryland 20815            *
                                           *
    Anne Arundel County
                                           *
        Defendants.                        *

      ********************************************************

              FIRST AMENDED COMPLAINT AND JURY DEMAND
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      Plaintiffs Donna Malone, Individually, and as Administrator of the Estate of her

deceased son, Thomas Alan Gosier, and use plaintiff Daniel Gosier allege as follows:

      1.     This is an action arising out of the death of twenty-two-year-old Thomas

Gosier while in the custody of the Wicomico County Department of Corrections. By the

deliberate indifference and gross negligence or negligence of Wicomico County, and the

employees and/or agents of Wicomico County and/or Wicomico County Detention Center,

Thomas Gosier, while suffering from extreme mental illness and the destructive symptoms

of drug withdrawal, and after one desperate attempt to commit suicide while detained, was

placed in solitary confinement with unrestricted access to implements the Defendants knew

could be – and often were – used by detainees to commit suicide. On 21 August 2016, as a

direct and foreseeable result of the Defendants’ conduct, Thomas Gosier used his bed

sheets to tie a noose around his neck and hang himself from the top bunk in his cell.

Although still alive when he was found, Mr. Gosier never regained neurological function

and was pronounced dead the following day.

                                       PARTIES

      1.     Plaintiff Donna Lynn Malone is, and at all times relevant has been, a resident

of Syracuse, New York. Ms. Malone is the mother of decedent Thomas Alan Gosier and

was appointed Administrator of his estate on April 16, 2018. A copy of the Certificate of

Appointment issued by the Surrogate’s Court of Onondaga County New York is attached

hereto as Exhibit A.

      2.     Use Plaintiff Daniel A. Gosier is the biological father of the decedent Thomas

Alan Gosier. Daniel A. Gosier’s current whereabouts are unknown. Both Ms. Malone and


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her attorneys have undertaken substantial – albeit unsuccessful – efforts to locate Daniel

Gosier. As a result, the Surrogate’s Court for the State of New York, Onondaga County

dispensed with service of process for purposes of administering Thomas Gosier’s estate. A

copy of this complaint was sent to Daniel Gosier’s last known address.

       3.     Defendant Wicomico County is an entity of local government of the State of

Maryland that, by virtue of the Maryland Constitution and the Wicomico County Charter,

is a body corporate and politic that possess the rights of self-government and home rule.

Wicomico County owns, and through its Department of Corrections, operates the

Wicomico County Detention Center (“WCDC”). Wicomico County was, at all relevant

times, responsible for the policies, practices, customs, and regulations governing and used

at WCDC and for the misconduct, acts, and omissions of its employees, agents, and/or

servants. Wicomico County was given notice of this claim pursuant to Md. Code Ann., Cts.

& Judicial Proc. § 5-304 on or about November 28, 2016. A copy of the letter is attached

hereto as Exhibit B

       4.     At all relevant times, Otha Byrd, Jr. (“Byrd”), Robert O’Day (“O’Day”),

James Bare (“Bare”), Doretha Carroll (“Carroll”), and Charles Ennis (“Ennis”) were

correctional officers employed by Defendant Wicomico County at WCDC, and were acting

within the scope of their employment and under color of law.

       5.     Upon information and belief, Defendant Conmed, LLC f/k/a Conmed, Inc.

(“Conmed”) is a Maryland Limited Liability Company that provides healthcare services to

detainees through contracts with individual correctional facilities.

       6.     Upon information and belief, Conmed was acquired by Correct Care


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Solutions, LLC (“CCS”) in 2012 and then CCS was acquired by Wellpath, LLC

(“Wellpath”) in 2019. Conmed and CCS are wholly owned subsidiaries of Wellpath.

       7.     Upon information and belief, Conmed, CCS, and Wellpath operate as one

business unit and, collectively, contracted with Wicomico County, through its Department

of Corrections, to provide healthcare to detainees at WCDC, including Mr. Gosier.

       8.     Hereinafter, Conmed, CCS, and Wellpath are collectively referred to as

Defendant Conmed.

       9.     At all relevant times, Michelle Gwaltney (“Gwaltney”), Jarvia Fishell

(“Fishell”), and Johannes Dalmasy (“Dalmasy”) were employees of Conmed acting within

the scope of their employment and under color of law as expressly designated agents of

Wicomico County.

                               JURISDICTION AND VENUE

       10.    This Court has subject matter jurisdiction over Plaintiff’s claims pursuant to

28 U.S.C. § 1331, as this case involves question of federal law, and, as to the remaining

claims, pursuant to 28 U.S.C. §1367.

       11.    All Defendants either reside in, are employed in, or conduct substantial

business in Wicomico County, Maryland and all the tortious acts or omissions giving rise

to the claims asserted herein were committed in Maryland. Venue is therefore proper in

this judicial district pursuant to 28 U.S.C. § 1391(b).

                                          FACTS

Arrest and Initial Detention

       12.    Upon information and belief, Thomas Alan Gosier suffered from bipolar


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disorder and/or schizophrenia, as well as a crippling addiction to drugs of abuse.

       13.    In the early evening of August 12, 2016, PFC Barkley, an officer with the

Salisbury Police Department, responded to a call reporting an alleged theft that occurred at

a Giant grocery store in Salisbury, Maryland.

       14.    The Giant store manager alleged that he witnessed Mr. Gosier stuff numerous

items into his pockets and attempt to leave without paying.

       15.    When confronted, Mr. Gosier allegedly left the store and threw the items into

a nearby storm drain.

       16.    PFC Barkely reported that he retrieved several bottles of Benzedrex nasal

spray, with a cumulative value of $47.92, from the storm drain.

       17.    It is widely understood, particularly among law enforcement, that individuals

that suffer from drug addiction target Benzedrex because it is an over-the-counter product

that, when abused, mimics the high achieved from abusing amphetamines.

       18.    Upon being placed under arrest, despite the relatively unserious nature of his

crime, Mr. Gosier became emotionally erratic and frenzied in the rear of the police car. Mr.

Gosier thrashed around the inside of the vehicle, purposefully slamming his head into the

rear window and desperately expressing his intent to commit suicide.

       19.    Recognizing Mr. Gosier’s mental instability, PFC Barkley executed a

Petition for Emergency Evaluation under Md. Health General § 10-620 et seq and

transported Mr. Gosier to Peninsula Regional Medical Center (“PRMC”) for evaluation.

       20.    PFC Barkley noted in the Petition that Mr. Gosier’s suicidal ideations were

accompanied by talk of multiple suicide attempts in the past and that Mr. Gosier was


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currently was currently prescribed multiple antipsychotic medications (Risperdal and

Zypraxin [sic]) to treat his mental health disorders.

        21.   At PRMC, Mr. Gosier was examined by Elizabeth Townsend and emergency

medicine physician Dr. William Wild (“Dr. Wild”), a member of Emergency Services

Associates.

        22.   Along with Defendant Conmed, PRMC, Elizabeth Townsend, Dr. Wild, and

Emergency Service Associates are defendants in a parallel action for medical malpractice

filed in Maryland Healthcare Alternative Dispute Resolution Office.

        23.   Dr. Wild met with Mr. Gosier for approximately ten minutes before

concluding, despite all evidence to the contrary, that Mr. Gosier was not an acute suicide

risk.

        24.   On information and belief, Dr. Wild failed to consider Mr. Gosier’s mental

illness and failed to consult with a licensed mental health professional.

        25.   Just twenty-three minutes after arriving at PRMC, Mr. Gosier was discharged

back into the custody of the Salisbury Police Department (“SPD”) with a diagnosis of

depression.

        26.   Dr. Wild’s discharge instructions did, however, instruct WCDC to return Mr.

Gosier to the hospital for treatment if he expressed further suicidal ideation.

        27.   After discharge from PRMC, Mr. Gosier was transported to WCDC, where

he was processed into custody pending an appearance before a District Court

Commissioner.

        28.   During intake, Gosier’s inclination to harm himself was noted by


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Correctional Officer Verdus Humphries.

       29.    A District Court Commissioner set Mr. Gosier’s bail at $10,000, and Mr.

Gosier was then placed into a holding tank within the Central Booking Post of WCDC.

       30.    Mr. Gosier was thereby placed into the complete custody, control, care and

protection of Defendant WCDC and its employees and/or agents who were at all relevant

times acting within the scope of their employment and/or agency with Wicomico County,

Maryland, and acting under color of law.

       31.    Less than an hour after his bail was set, while still in a holding cell, Mr.

Gosier against expressed suicidal thoughts, going so far as to assert that he would

accomplish his suicide by shredding a mattress, and warning the WCDC staff that he had

attempted suicide this way before.

       32.    After being handcuffed to a bench, Mr. Gosier became emotionally agitated,

pacing back and forth, refusing orders to sit down, and then attempted to rip a phone from

the wall.

       33.    Mr. Gosier was restrained and placed in a cell in the Medical Unit of WCDC

on Suicide Watch.

       34.    Upon information and belief, suicide watch requires precautions including,

but not limited to, constant video surveillance, regular checks by correctional officers, and

property restrictions. The property restrictions include provision of only a single cot or

bunk that is low to the ground and equipped with an unbreakable plastic mattress. Prisoners

on suicide watch are also denied access to bedding.

       35.    Upon information and belief, these policies are applied to detainees on


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suicide watch because the Defendants have actual knowledge that failing to take said

precautions substantially increases the risk of suicide by detainees determined to be at risk.

Suicide Attempt on 13 August

       36.     Mr. Gosier’s mental and physical state was so desperate, however, that he

attempted to “overcome” suicide watch. On 13 August 2016, after just an hour on suicide

watch, Mr. Gosier tore the cover from his “suicide” mattress and wrapped it around his

neck in an apparent attempt to asphyxiate himself.

       37.    Upon information and belief, because Mr. Gosier was under constant

monitoring – as part of the suicide watch protocol – WCDC correctional officers were able

to thwart his attempt.

       38.    This attempt put all Defendants on actual and express notice that Mr. Gosier

was not simply seeking attention by threatening suicide – he was willing and able to go to

great lengths to harm himself despite being arrested for “petty” theft.

       39.    The Defendants failed, however, to provide Mr. Gosier with the medical care

and institutional support to which he was entitled under the U.S. Constitution.

       40.    In fact, although Gwaltney, a licensed practical nurse, executed an “urgent”

staff referral for Mr. Gosier to see a mental health professional, Mr. Gosier was denied

mental health services and the prescription medication required to treat his mental illness

and regulate his erratic behavior. Instead, he was handcuffed and shackled to a gurney for

approximately the next five hours before he was returned to a suicide watch cell.

Suicide Attempt on 14 August

       41.    Less than 24 after the 13 August suicide attempt, correctional officers


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watched again as Mr. Gosier tore the lining from his suicide mattress, fashioned a noose,

and attempted to commit suicide by asphyxiation.

       42.     Again, however, because he was under constant monitoring, WCDC

employees were able to intervene. On this occasion, however, Mr. Gosier resisted

intervention, and continued to tighten the makeshift noose around his neck by twisting it

around the toilet in his cell.

       43.     Correctional Officer Byrd utilized pepper spray to subdue Mr. Gosier long

enough to cut the noose from around his neck and then Dr. Dalmasy apparently approved

a “calming shot” to further de-escalate the situation.

15 August Treatment and Disciplinary Charges

       44.     On the following day, approximately seventy-two hours after his arrest,

forty-eight hours after Gwaltney’s “urgent” referral to mental health, and after two suicide

attempts, Mr. Gosier was evaluated by Jarvia Fishell, a licensed clinical professional

counselor.

       45.     Mr. Gosier was not seen by a psychiatrist and not returned to Peninsula

Regional Medical Center as directed in Dr. Wild’s discharge instructions.

       46.     Fishell performed a “Suicide Watch Initial Assessment” and “Behavioral

Health and Psychiatry Individual Assessment and Treatment Plan.”

       47.     Fishell noted Mr. Gosier’s family history of schizophrenia, opiate and

alcohol abuse/withdraw, impulsivity, the danger of his “giving up.” Fishell classified Mr.

Gosier as being at “high” risk for self-harm/suicide.

       48.     Fishell indicated that Mr. Gosier should remain on suicide watch.


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       49.    Upon information and belief, just after this evaluation, after two suicide

attempts in the previous forty-eight hours, twenty-four consecutive hours handcuffed and

shackled to a gurney, and while still on suicide watch, WCDC staff served Mr. Gosier

Notices of Infraction of at least ten WCDC rules.

       50.    Each of these alleged infractions was committed either while expressing

suicidal ideations or attempting suicide.

       51.    Rather than provide Mr. Gosier with the treatment he needed, WCDC staff,

including Byrd and Ennis, carrying out WCDC policies and procedures, disciplined Mr.

Gosier for his “conduct” during multiple suicide attempts.

16 August Transfer to Disciplinary Lockdown

       52.    Upon information and belief, Gosier was evaluated by Dr. Dalmasy,

Conmed’s Chief Psychiatric Officer, on 16 August at approximately 14:00 hours.

       53.    Dr. Dalmasy approved orders to prescribe Gosier Vistaril and Zoloft.

       54.    Rather than monitor the effect of these medications on Mr. Gosier’s

emotional and mental health, just thirteen minutes after the orders were signed, he was

placed in disciplinary lockdown.

       55.    It is well recognized that anti-depressants like Zoloft do not reach efficacy

for one to three weeks yet before Gosier was given even one dose, he was removed from

suicide watch and transferred to “F-Pod,” where detainees are locked in a cell for 23 of 24

hours each day.

       56.    That one hour of recreation, also carried out in isolation, allowed Gosier to

roam an interior common area not more than 200 square feet. The only recreational


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“activity” afforded detainees on “F-Pod” is a small television in the common area.

       57.    Mr. Gosier was suffering from severe mental illness and opiate withdrawal

and had attempted suicide multiple times in less than seventy-two hours before being

transferred directly from suicide watch to solitary confinement.

       58.    It is widely accepted that subjecting prisoners to prolonged periods of solitary

lockdown – particularly those with a history of mental health disorders and/or drug

addiction – substantially increases the incidence of suicidal ideation and the likelihood of

suicide attempt.

17-19 August Disciplinary Sentence and Suicidal Ideations

       59.    After twenty-four hours in solitary confinement, Master Correctional Officer

Ennis presided over a “hearing” to adjudicate the alleged rules infractions committed by

Gosier during his suicide attempts.

       60.    Despite the recognition that Gosier was suffering from mental illness and

opiate withdraw, and had attempted suicide multiple times, WCDC’s disciplinary policies

allowed for Mr. Gosier to be sentenced to forty consecutive days of solitary confinement

in disciplinary segregation for the alleged rules infractions.

       61.    Unsurprisingly, Mr. Gosier’s mental state deteriorated quickly during his

isolation and, faced with such a barbaric punishment, he requested to see a mental health

professional the following day, but was told by WCDC staff that it would be an additional

day before he was provided access to care.

       62.    Mr. Gosier responded by expressing additional suicidal ideations and, at was

transferred back to the Medical Pod and placed on suicide watch.


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       63.     While on suicide watch, Mr. Gosier desperately tried to express that he was

unable to cope with the prospect of forty days in solitary confinement but Gwaltney,

performing a “Pre-Segregation Health Evaluation” (more than two days after Mr. Gosier

was initially transferred), indicated that Mr. Gosier had not expressed any concern about

his ability to cope in the segregation unit.

       64.     Upon information and belief, Gwaltney was, at all relevant times, a licensed

practical nurse, unqualified to render judgments about Mr. Gosier’s mental fitness for

confinement.

       65.     After twenty-four hours, and no adjustment to any treatment plan, Mr. Gosier

was placed back in segregation to continue his sentence.

       66.     The following day, on 19 August, Mr. Gosier again desperately reached out

for help, telling a correctional officer that he felt his life was in danger. He was dismissed.

       67.     Later the same day, Mr. Gosier feigned chest pains but was ignored.

       68.     Just a few minutes after the “chest pains,” Mr. Gosier claimed he swallowed

a razor, all the while knowing that he did not have access to a razor.

       69.     Despite these obvious cries for help, Mr. Gosier was denied access to

meaningful mental health care after being returned to solitary confinement on 18 August.

       70.     Compounding the relentless toll of solitary confinement on Mr. Gosier’s

mental state, the disciplinary cells on “F-Pod” gave him full access to a standard mattress

and bedding, as well as a top bunk. As evidenced by the denial of these comforts to

detainees on suicide watch, Defendants were acutely aware that such access provided

mental ill detainees with the means to commit suicide by hanging.


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       71.    In addition to the means, the Defendants provided Mr. Gosier with the

substantial opportunities to harm himself. While on “F-Pod,” correctional officers are

unable to perform constant video surveillance of detainees inside their cells and, even

though Mr. Gosier was placed on “welfare watch,” he was only checked on by correctional

officers every twenty minutes, significantly less often than detainees on suicide watch.

       72.    From Mr. Gosier’s cell, he could even see a clock in the hallway outside “F-

Pod,” so he knew exactly how long he had before the next welfare check. Given that most

detainee suicides take less than five minutes, and that his “F-Pod” cell contained the

necessary implements, Defendants provided Mr. Gosier with all he needed to commit

suicide successfully.

       73.    On 21 August 2016, at approximately 12:38 hours, Correctional Officers

O’Day and Bare entered “F-Pod” to complete cell checks, presumably including Mr.

Gosier’s welfare check.

       74.    After O’Day and Bare exited “F-Pod,” the only surveillance of Mr. Gosier’s

cell was by Correctional Officer Carroll looking at the display of a camera located in the

common area of the pod. The camera looked at the small rectangular window of Mr.

Gosier’s cell from a severe angle, rendering Carroll unable to discern any activity inside.

       75.    At approximately 12:44 hours, Mr. Gosier applied two lengths of toilet paper

to the window in the door to his cell, obscuring all view of his actions inside.

       76.    On information and belief, any coverage of this window was prohibited, in

part because it may provide detainees an opportunity for self-harm completely out of the

view of any WCDC staff.


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       77.    At some point thereafter, Carroll notified O’Day “through a small window”

that Mr. Gosier had covered the window to his cell.

       78.    Mr. Gosier’s cell window was covered for approximately ten minutes before

O’Day and Bare re-entered “F-Pod.”

       79.    Although O’Day and Bare were presumably responding to Carroll’s report

that Mr. Gosier’s window was covered, O’Day took the opportunity to complete his normal

check of all seven cells.

       80.    After checking Cell 1, which consists of scanning the receiver on the cell

door with his handheld computer, O’Day approached Cell 2, where Mr. Gosier was in the

process of hanging himself from his bunk behind only the cover of two lengths of toilet

paper. Despite the clear danger indicated by a mentally ill patient with suicidal ideations

covering his cell window, and after calling out to Gosier and receiving no response for

approximately sixteen seconds, O’Day consciously disregarded Gosier’s welfare and

carried out his normal check of the remaining cells on “F-Pod.”

       81.    After deliberately scanning the receivers on the doors of Cells 3, 4, 5, 6, and

7, O’Day returned to Mr. Gosier’s cell door at approximately 12:55:09 hours. Again unable

to elicit a response from Mr. Gosier, O’Day casually instructed the detainee from Cell 5,

then out on recreation time, to return to his cell.

       82.    It was not until approximately 12:55:30 hours, eleven and a half minutes after

he covered the window to his cell, that Carroll opened Mr. Gosier’s cell door.

       83.    Upon entering Mr. Gosier’s cell, Correctional Officers O’Day and Bare

observed Mr. Gosier hanging from the top bunk, with a bedsheet fashioned into a noose


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and wrapped tightly around his neck. According to Bare, Mr. Gosier was gasping for

breath, with mucus excreting from his nose and mouth.

       84.      Bare and O’Day were able to cut Mr. Gosier from the makeshift noose and

call for medical assistance. After WCDC staff performed CPR for a period of time, Mr.

Gosier was transported by ambulance to PRMC.

       85.      Multiple doses of epinephrine resulted in Mr. Gosier regaining a pulse but he

never regained any signs of neurological function. Mr. Gosier was pronounced dead on 22

August 2016 at 17:14 hours.

                                        COUNT I
                                     42 U.S.C. § 1983
                                     Wicomico County

       86.      The allegations in paragraphs 1 through 85 are incorporated by reference as

though fully set forth herein.

       87.      This Count arises under 42 U.S.C. § 1983, and is alleged against Wicomico

County for its actions, inactions, supervision, or supervisory directives, carried out through

WCDC, causing and/or knowingly acquiescing in personnel’s decision to refuse to

safeguard Thomas Gosier, thereby causing the deprivation of Mr. Gosier’s constitutional

rights to personal security and protection under the Fourteenth Amendment to the

Constitution.

       88.      Under the Eighth and Fourteenth Amendments to the United States

Constitution Wicomico County owed a duty of care to Mr. Gosier to provide him with

medical care in accordance with the standards of delivery of such care in the State of

Maryland; institute and enforce policies that would maintain his well-being while in the


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custody of Wicomico County; monitor him, and provide him with timely and appropriate

medication.

       89.      Mr. Gosier was at all times a pre-trial detainee at WCDC and was therefore

owed the protections of due process of law pursuant to the Fourteenth Amendment to the

U.S. Constitution. Detainees and inmates are constitutionally entitled to detention in an

environment that offers reasonable protection from harm.

       90.      At all relevant times, WCDC had actual knowledge that Thomas Alan

Gosier:

             a. Suffered from severe mental illness including, but not limited to, bipolar

                disorder and schizophrenia;

             b. Suffered from drug addiction at the time of his arrest and detention;

             c. Was suffering from the physical effects of drug withdrawal during his

                detention;

             d. Had a history of suicidal ideation and suicide attempts;

             e. Had recently expressed suicidal ideations and attempted suicide during his

                detention;

             f. His recent expressions of suicidal ideations and attempted suicide occurred

                in response to facing a minor criminal charge of theft under $50; and

             g. Made erratic and irrational statements in an attempt to be removed from

                solitary confinement.

       91.      At all relevant times, WCDC knew that each of the facts listed in the previous

paragraph are clear indicators that a detainee is at substantial risk for self-harm.


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       92.      WCDC also knew that detainees in pre-trial confinement, including Mr.

Gosier, are far more likely to attempt suicide than inmates serving a prescribed sentence.

       93.      WCDC was therefore acutely aware that Mr. Gosier was at extreme risk for

self-harm.

       94.      Despite this knowledge, among other things:

             a. WCDC created and implemented disciplinary policies allowing for suicidal

                inmates to be charged with rules infractions, and punished for, attempting

                suicide;

             b. WCDC created and implemented disciplinary policies allowing for suicidal

                inmates to be housed in solitary confinement, a housing condition widely

                known to increase the likelihood of inmate suicide;

             c. WCDC created and implemented policies allowing for suicidal inmates to be

                denied access to mental health care with a psychiatrist for reasons of

                convenience;

             d. WCDC created and implemented policies allowing for suicidal inmates to be

                placed into solitary confinement prior to sufficient treatment and/or

                monitoring after a mental health crisis;

             e. WCDC created and implemented policies delegating the pre-segregation

                health evaluation of suicidal inmates to licensed practical nurses that are

                unqualified to render judgments about complex health issues;

             f. WCDC failed to implement policies requiring and/or failed to adequately

                train its employees to adhere to discharge instructions rendered by outside


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               health care providers when detainees receive evaluation and/or treatment

               prior to detention;

            g. WCDC failed to implement policies requiring that correctional officers

               responsible for carrying out welfare watch checks be informed of an inmate’s

               history of, and predisposition to, suicide and/or self-harm;

            h. WCDC failed to implement policies restricting access to property, including

               top bunks and standard bedding, by suicidal inmates;

            i. WCDC failed to adequately train its employees to identify and react to

               suicidal detainees/inmates; and

            j. WCDC consciously and deliberately entrusted the physical and mental

               healthcare of detainees/inmates to Conmed with actual and/or constructive

               knowledge that Conmed would delegate complex medical decision-making

               to unqualified individuals and otherwise deny appropriate care to

               detainees/inmates.

      95.      WCDC committed the acts and omissions in the previous paragraph with

deliberate indifference toward Mr. Gosier and intentional disregard for his physical and

mental health.

      96.      The violations of Mr. Gosier’s civil rights as well as the deliberate

indifference and reckless disregard to Mr. Gosier’s and similarly situated detainees’ and

detainees’ medical needs and safety were the direct and proximate results of the customs,

policies, and practices of Wicomico County.

      97.      Wicomico County expressly or tacitly encouraged, ratified, and/or approved


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of the acts and/or omissions alleged herein, and knew or should have known that such

conduct was unjustified and would result in violations of Constitutional rights.

       98.      These customs, policies, and practices constituted standard operating

procedures at WCDC.

       99.      Wicomico County was aware of these deficiencies and failed to take effective

remedial measures.

       100.     Wicomico County has been on actual notice of these deficiencies since at

least 2002, when the Department of Justice issued a report outlining, among other things:

             a. That Wicomico County must perform mental health screening on

                inmates/detainees within 24 hours of processing;

             b. That, regarding inmates at risk for self-harm, Wicomico County must

                implement a mental health treatment plan prepared by mental health

                professionals; and

             c. That Wicomico County must provide and document the appropriate

                prescription of medicine to treat mental illness.

       101.     Wicomico County acted with deliberate indifference in creating and

implementing these policies and in failing to remedy known deficiencies.

       102.     As a direct and proximate result, Mr. Gosier was subjected to physical pain,

mental anguish, emotional distress and death.

       Wherefore, Plaintiff Donna Malone, as personal representative of the Estate of

Thomas A. Gosier, requests that the Court enter judgment in her favor and against

Wicomico County as follows: (1) for compensatory damages in the amount of


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$5,000,000.00, which amount shall be proven at trial; (2) for reasonable attorneys’ fees and

costs, as permitted under 42 U.S.C. § 1988; (3) pre- and post-judgment interest; (4) for

punitive damages to the fullest extent permitted by law; and (5) for such other and further

relief as this Court may deem just and proper.

                                        COUNT II
                                     42 U.S.C. § 1983
                                        CONMED

       103.   The allegations in paragraphs 1 through 102 are incorporated by reference as

though fully set forth herein.

       104.   Conmed, through its employees, including Gwaltney, Fishell, and Dalmasy,

acted with deliberate indifference to Mr. Gosier’s known mental health needs, depriving

him of his constitutional rights to personal safety and protection under the Eight and/or

Fourteenth Amendments to the United States Constitution.

       105.   Each of the individual health care providers employed by Conmed, at the

time of their omissions, knew that that Thomas Alan Gosier:

          a. Suffered from severe mental illness including, but not limited to, bipolar

              disorder and schizophrenia;

          b. Suffered from drug addiction at the time of his arrest and detention;

          c. Was suffering from the physical effects of drug withdrawal during his

              detention;

          d. Had a history of suicidal ideation and suicide attempts;

          e. Had recently expressed suicidal ideations and attempted suicide during his

              detention;


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             f. His recent expressions of suicidal ideations and attempted suicide occurred

                in response to facing a minor criminal charge of theft under $50; and

             g. Made erratic and irrational statements in an attempt to be removed from

                solitary confinement.

       106.     At all relevant times, Conmed knew that each of the facts listed in the

previous paragraph are clear indicators that a detainee is at substantial risk for self-harm.

       107.     Conmed also knew that detainees in pre-trial confinement, including Mr.

Gosier, are far more likely to attempt suicide than inmates serving a prescribed sentence.

       108.     Conmed was therefore acutely aware that Mr. Gosier was at extreme risk for

self-harm.

       109.     Despite this knowledge, among other things:

             a. Gwaltney and/or Fishell dismissed Mr. Gosier’s suicide attempts as “not

                real” attempts;

             b. Gwaltney, Fishell, and/or Dalmasy approved Mr. Gosier’s transfer from

                suicide watch to disciplinary segregation with full knowledge that he had not

                received adequate treatment;

             c. Gwaltney, Fishell, and/or Dalmasy failed to recommend that Mr. Gosier be

                denied access to personal property, including bedding and bunk beds, that

                they knew could be used as implements in a suicide attempt;

             d. Gwaltney, Fishell, and/or Dalmasy failed to adequately respond to Mr.

                Gosier’s stated inability to cope with solitary confinement;

             e. Conmed delegated pre segregation health screening to Gwaltney, a licensed


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              practical nurse, who was wholly unqualified to make complex medical

              decisions;

          f. Gwaltney, Fishell, and/or Dalmasy deliberately failed to follow the discharge

              instructions provided by Peninsula Regional Medical Center that directed

              Mr. Gosier’s return to the hospital if he displayed any further signs of suicidal

              ideation; and

          g. Defendant Conmed, by and through its employees, Gwaltney, Fishell, and

              Dalmasy, consciously and deliberately ignored glaring clinical signs that Mr.

              Gosier was unfit for solitary confinement and required urgent medical

              attention.

       110.   Defendants committed the acts and omissions in the previous paragraph with

deliberate indifference toward Mr. Gosier and intentional disregard for his physical and

mental health.

       111.   Conmed, with full knowledge of Mr. Gosier’s compromised mental state and

the high likelihood of self-harm, left him in disciplinary lockdown instead of referring him

for the urgent mental health care that he required.

       112.   Conmed further failed to ensure that proper protocols were in place for

evaluating and/or monitoring detainees/inmates at high risk for self-harm/suicide and

ensuring that at-risk detainees were transferred to a facility equipped to provide the

necessary care.

       113.   The violations of Mr. Gosier’s civil rights as well as the deliberate

indifference and reckless disregard to Mr. Gosier’s and similarly situated detainees’ and


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detainees’ medical needs and safety were the direct and proximate results of the customs,

policies, and practices of Conmed.

       114.   Conmed expressly or tacitly encouraged, ratified, and/or approved of the acts

and/or omissions alleged herein, and knew or should have known that such conduct was

unjustified and would result in violations of Constitutional rights.

       115.   These customs, policies, and practices constituted standard operating

procedures of Conmed.

       116.   As a direct and proximate result of Conmed’s deliberate indifference, Mr.

Gosier was subjected to physical pain, mental anguish, emotional distress and death.

       117.   At all times relevant to Conmed’s deliberately indifferent acts and omissions,

it was acting under color of state law.

       Wherefore, Plaintiff Donna Malone, as personal representative of the Estate of

Thomas A. Gosier, requests that the Court enter judgment in her favor and against Conmed,

as follows: (1) for compensatory damages in the amount of $5,000,000.00, which amount

shall be proven at trial; (2) for reasonable attorneys’ fees and costs, as permitted under 42

U.S.C. § 1988; (3) pre- and post-judgment interest; (4) for punitive damages to the fullest

extent permitted by law; and (5) for such other and further relief as this Court may deem

just and proper.


                                     COUNT III
                       Due Process – Article 24 of the Maryland
                                Declaration of Rights
                                   All Defendants

       118.   The allegations in paragraphs 1 through 117 are incorporated by reference as


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though fully set forth herein.

       119.    At all relevant times, Defendants acted under color of the laws of the State

of Maryland.

       120.    All actions of Defendants occurred within the course of their duty and the

scope of their employment and/or agency as employees of Wicomico County or as

employees contracted to act on their behalf and Maryland’s constitution and its principles

of respondeat superior liability impose an affirmative obligation on counties and

municipalities to avoid constitutional violations by their employees and contract-

employees through, inter alia, adequate training and supervision and by discharging or

disciplining negligent or incompetent employees/contract employees.

       121.    The Defendants deprived Mr. Gosier of his life and liberty in violation of

Article 24 of the Maryland Declaration of Rights when they knowingly failed to provide

Mr. Gosier with necessary medical care including access to the appropriate medication,

knowingly failed or refused to enforce a legitimate suicide watch policy, knowingly placed

Mr. Gosier at an increased risk for suicidal ideation when placing him in “lockdown,”

knowingly failed to monitor him while he was suicidal, and knowingly failed to take steps

to maintain his well-being, and thereby facilitated Mr. Gosier’s suicide.

       122.    The Defendants failure to conduct an actual suicide watch wherein the

Defendants regularly monitored Mr. Gosier, coupled with their failure to properly medicate

Mr. Gosier was malicious and with deliberate indifference and conscious disregard of Mr.

Gosier’s safety and welfare because Defendants knew that Mr. Gosier was suicidal and

they knew that placing a suicidal detainee in “lockdown” without necessary medication


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and mental treatment would lead to his suicide.

       123.     The Defendants actions and omissions facilitated Mr. Gosier’s suicide and

thus deprived Mr. Gosier of his life and liberty as guaranteed by Article 24 of the Maryland

Constitution.

       Wherefore, Plaintiff Donna Malone, as personal representative of the Estate of

Thomas A. Gosier, requests that the Court enter judgment in her favor and against

Defendants jointly and severally as follows: (1) for compensatory damages in the amount

of $5,000,000.00, which amount shall be proven at trial; (2) for reasonable attorneys’ fees

and costs, as permitted; (3) pre- and post-judgment interest; (4) for punitive damages to the

fullest extent permitted by law; and (5) for such other and further relief as this Court may

deem just and proper.

                                        COUNT IV
                                         Negligence
                                 Defendant Wicomico County

       124.     The allegations in paragraphs 1 through 123 are incorporated by reference as

though fully set forth herein.

       125.     Defendant Wicomico County at all relevant times, had a duty under the

Eighth and Fourteenth Amendments to the United States Constitution, the Maryland

Declaration of Rights, and common law, to: provide detainees and inmates at WCDC with

reasonable care in accordance with the standards of delivery of such care in the State of

Maryland; institute policies that would maintain prisoner/detainee well-being at the

WCDC; enforce policies that would maintain prisoner/detainee well-being at the WCDC;

monitor suicidal prisoners and detainees at WCDC; and provide timely and appropriate


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medication to suicidal prisoners and detainees at the WCDC.

       126.   Wicomico County further had a duty to hire, train, and/or supervise their

employees/agents to meet their duties.

       127.   Through the acts/omissions described in this complaint, specifically in

paragraphs 90 through 101, Wicomico County, through negligence and/or gross

negligence, breached its duties to Mr. Gosier.

       128.   As a foreseeable, direct, and proximate result, Mr. Gosier experienced

extreme mental and physical pain and anguish prior to his death.

       Wherefore, Plaintiff Donna Malone, as personal representative of the Estate of

Thomas A. Gosier, requests that the Court enter judgment in her favor and against

Wicomico County as follows: (1) for compensatory damages in the amount of

$5,000,000.00, which amount shall be proven at trial; (2) for reasonable attorneys’ fees and

costs, as permitted; (3) pre- and post-judgment interest; (4) for punitive damages to the

fullest extent permitted by law; and (5) for such other and further relief as this Court may

deem just and proper.

                                         COUNT V
                                      Wrongful Death
                                 Defendant Wicomico County

       129.   The allegations in paragraphs 1 through 128 are incorporated by reference as

though fully set forth herein.

       130.   Pursuant to Md. Courts & Judicial Proceedings §3-904, Donna Malone, Mr.

Gosier’s mother, brings this action for the wrongful death of her son.

       131.   Defendant Wicomico County, at all relevant times, had a duty under the


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Eighth and Fourteenth Amendments to the United States Constitution, the Maryland

Declaration of Rights, and common law, to: provide detainees and inmates at WCDC with

reasonable care in accordance with the standards of delivery of such care in the State of

Maryland; institute policies that would maintain prisoner/detainee well-being at the

WCDC; enforce policies that would maintain prisoner/detainee well-being at the WCDC;

monitor suicidal prisoners and detainees at WCDC; and provide timely and appropriate

medication to suicidal prisoners and detainees at the WCDC.

       132.   Wicomico County further had a duty to hire, train, and/or supervise their

employees/agents to meet their duties.

       133.   Through the acts/omissions described in this complaint, specifically in

paragraphs 90 through 101, Wicomico, through negligence and/or gross negligence,

breached its duties to Mr. Gosier.

       134.   The breaches described herein were knowing and deliberately indifferent to

Mr. Gosier’s well-being and as such, were motivated by malice, deliberate indifference,

and conscious disregard for Mr. Gosier. These failures facilitated Mr. Gosier’s death.

       135.   As a foreseeable, direct, and proximate result of Defendants’ breaches, Mr.

Gosier committed suicide while detained at WCDC and Ms. Malone has been caused and

will continue to experience extreme mental anguish, emotional pain and suffering, loss of

companionship, loss of comfort, and loss of love resulting the tragic and unnecessary death

of her son, Thomas Gosier.

       Wherefore, Plaintiff Donna Malone, as personal representative of the Estate of

Thomas A. Gosier, requests that the Court enter judgment in her favor and against


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Wicomico County as follows: (1) for compensatory damages in the amount of $1,222,500,

which amount shall be proven at trial; (2) for punitive damages to the fullest extent

permitted by law; and (3) for such other and further relief as this Court may deem just and

proper.

                                JURY TRIAL DEMAND

       Plaintiffs hereby demand a jury trial in this action.

Date: November 13, 2019

                                                Respectfully Submitted,

                                                /s/ Nicholas C. Bonadio

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